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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

ROBERT ROSS,                                       )
                                                   )
                      Plaintiff,                   )
                                                   )
v.                                                 )       Case No. 4:19-CV-2971-SNLJ
                                                   )
CHARLES CARVER, et al.,                            )
                                                   )
                      Defendants.                  )

                             MEMORANDUM AND ORDER

       Plaintiff Robert Ross 42 U.S.C. § 1983 civil rights complaint with this Court on

November 4, 2019. On September 30, 2021, plaintiff filed a “motion to retrieve legal

work D.O.C. at SECC.” Plaintiff explains that he was transferred from Jefferson City

Correctional Center to Southeast Correctional Center on August 3, 2021, but that his

“legal property” has been “misplaced,” including all the legal work related to this case.

       Plaintiff seeks an order requiring “SECC” to find his legal materials. SECC,

however, is not a party to this case, and the Court has limited ability to intervene.

Notably, defendants have not responded to the motion. Although defendants are

employed elsewhere in the department of corrections, their counsel in the Missouri

Attorney General’s office can presumably inquire as to the whereabouts of plaintiff’s

legal materials in the interest of a timely resolution of this case.
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       Accordingly,

       IT IS HEREBY ORDERED that defendant’s motion is GRANTED in part and

DENIED in part, and defense counsel shall inform the Court and plaintiff no later than

October 20, 2021 regarding plaintiff’s access to his legal materials.



       Dated this 13th day of October, 2021.


                                            _____________________________________
                                            STEPHEN N. LIMBAUGH, JR.
                                            SENIOR UNITED STATES DISTRICT JUDGE




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